           Case 3:23-cv-01742-RFL        Document 88   Filed 10/15/24   Page 1 of 14

                                                                                EXHIBIT A
 1
                             UNITED STATES DISTRICT COURT
 2
                          NORTHERN DISTRICT OF CALIFORNIA
 3
                                     SAN FRANCISCO DIVISION
 4

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 6   RON BERGMAN, Individually and on Behalf of   Case No.: 3:23-cv-01742-RFL
     All Others Similarly Situated,
 7
                        Plaintiff,                [PROPOSED] ORDER PRELIMINARILY
 8                                                APPROVING SETTLEMENT AND
                 v.                               PROVIDING FOR NOTICE
 9
     CARIBOU BIOSCIENCES, INC., RACHEL E.
10   HAURWITZ, JASON V. O’BYRNE, RYAN             CLASS ACTION
     FISCHESSER, SCOTT BRAUNSTEIN,
11   ANDREW GUGGENHIME, JEFFREY LONG-             Hon. Rita F. Lin
     MCGIE, NATALIE R. SACKS, BOFA
12   SECURITIES INC., CITIGROUP GLOBAL
     MARKETS, INC., and SVB SECURITIES LLC,
13
                        Defendants.
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      [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT AND PROVIDING
                       FOR NOTICE; Case No: 3:23-cv-01742-RFL
           Case 3:23-cv-01742-RFL           Document 88       Filed 10/15/24      Page 2 of 14




 1          WHEREAS, Lead Plaintiff Ron Bergman and named plaintiff Carl Cooper (“Plaintiffs”),
 2 and Defendant Caribou Biosciences, Inc. (“Caribou” or “Company”); Defendants Rachel E.
 3 Haurwitz, Jason V. O’Byrne, Ryan Fischesser, Scott Braunstein, Andrew Guggenhime, Jeffrey
 4 Long-McGie, and Natalie R. Sacks (“Individual Defendants,” and together with Caribou,
 5 “Caribou Defendants”); and Defendants BofA Securities, Inc., Citigroup Global Markets Inc.,
 6 and Leerink Partners LLC f/k/a SVB Securities LLC (“Underwriter Defendants,” and together
 7 with Caribou Defendants, “Defendants”) have entered into the Amended Stipulation of Settlement
 8 dated October 1, 2024 (“Stipulation”), which is subject to review under Federal Rule of Civil
 9 Procedure (“Rule”) 23, and which, together with the exhibits annexed thereto, sets forth the terms
10 and conditions for the proposed settlement and dismissal with prejudice of the securities class
11 action pending before the Court titled Bergman v. Caribou Biosciences, Inc., et al., Case No.
12 3:23-cv-01742-RFL (N.D. Cal.) (“Action”); and the Court having read and considered the
13 Stipulation and the exhibits thereto and submissions made relating thereto, and finding that
14 substantial and sufficient grounds exist for entering this Order and incorporating by reference the
15 reasons stated on the record; and the Parties having consented to the entry of this Order;
16          NOW, THEREFORE, IT IS HEREBY ORDERED, this 15th day of October, 2024, that:
17          1.      Capitalized terms used herein have the meanings defined in the Stipulation.
18          2.      Pursuant to Rule 23(a) and (b)(3) and for the purposes of the Settlement only, the
19 Action is hereby preliminarily certified as a class action on behalf of all persons and entities who
20 purchased Caribou common stock between July 23, 2021 and July 13, 2023, both dates inclusive,
21 and were damaged thereby. Included in the Settlement Class are all persons who purchased
22 Caribou common stock pursuant to and/or traceable to Caribou’s registration statement and
23 prospectus issued in connection with its IPO and all persons and entities who purchased Caribou
24 common stock at artificially inflated prices and were damaged thereby. Excluded from the
25 Settlement Class are: (a) persons who suffered no compensable losses; and (b) Defendants; the
26 Company’s present and former officers and directors during the Settlement Class Period;
27 members of their immediate families and their legal representatives, heirs, successors, or assigns,
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            Case 3:23-cv-01742-RFL           Document 88        Filed 10/15/24      Page 3 of 14




 1 and any entity in which any Defendant, or any person excluded under this subsection (b), has or
 2 had a majority ownership interest during the Settlement Class Period.
 3          3.      This Court finds, preliminarily and for purposes of the Settlement of the Action
 4 only, that the prerequisites for a class action under Rules 23(a) and (b)(3) have been satisfied in
 5 that: (a) the number of Settlement Class Members is so numerous that joinder of all members of
 6 the Settlement Class is impracticable; (b) there are questions of law and fact common to the
 7 Settlement Class; (c) Plaintiffs’ claims are typical of the claims of the Settlement Class they seek
 8 to represent; (d) Plaintiffs fairly and adequately represent the interests of the Settlement Class; (e)
 9 questions of law and fact common to the Settlement Class predominate over any questions
10 affecting only individual members of the Settlement Class; and (f) a class action is superior to
11 other available methods for the fair and efficient adjudication of the Action.
12          4.      Pursuant to Rule 23, preliminarily and for purposes of the Settlement of the Action
13 only, Plaintiffs are certified as the class representatives on behalf of the Settlement Class (“Class
14 Representatives”) and Lead Counsel, selected by Plaintiffs and previously appointed by the Court,
15 is hereby appointed as class counsel for the Settlement Class (“Class Counsel”).
16          5.      The Court finds that the Settlement memorialized in the Stipulation (a) resulted
17 from good faith, arm’s length negotiations, and (b) is sufficiently fair, reasonable, and adequate
18 to the Settlement Class Members to warrant providing notice of the Settlement to Settlement Class
19 Members and holding a Settlement Hearing.
20          6.      The Court hereby preliminarily approves the Settlement, subject to further
21 consideration at a Settlement Hearing pursuant to Rule 23(e), which is hereby scheduled to be
22 held before the Court on February 18, 2025 at 1:30 p.m. for the following purposes:
23                  (a)     to determine finally whether the applicable prerequisites for class action
24          treatment of the Action under Rule 23(a) and (b) are satisfied;
25                  (b)     to determine finally whether the Settlement is fair, reasonable, and
26          adequate, and should be approved by the Court;
27                  (c)     to determine finally whether to enter the Final Judgment, substantially in
28          the form of Exhibit B to the Stipulation, dismissing the Action on the merits and with

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           Case 3:23-cv-01742-RFL           Document 88       Filed 10/15/24      Page 4 of 14




 1          prejudice, and to determine whether the release by the Releasing Parties of the Released
 2          Claims against the Released Parties, as set forth in the Stipulation, should be ordered,
 3          along with a permanent injunction barring efforts to prosecute or attempt to prosecute any
 4          Released Claims extinguished by the release against any of the Released Parties, as also
 5          set forth in the Stipulation;
 6                  (d)     to determine finally whether the proposed Plan of Allocation for the
 7          distribution of the Net Settlement Fund is fair and reasonable and should be approved by
 8          the Court;
 9                  (e)     to consider the applications of Class Counsel for awards of attorneys’ fees
10          with interest and expenses to Class Counsel and Compensatory Award to Class
11          Representatives;
12                  (f)     to consider Settlement Class Members’ objections to the Settlement, if any,
13          whether submitted previously in writing or presented orally at the Settlement Hearing by
14          Settlement Class Members (or by counsel on their behalf), provided that they give proper
15          notice that they intend to appear at the Settlement Hearing; and
16                  (g)     to rule upon such other matters as the Court may deem appropriate.
17          7.      The Court reserves the right to adjourn the Settlement Hearing to a later date and
18 to approve the Settlement without modification, or with such modifications as may be agreed to
19 by the Parties, with or without further notice of any kind. The Court may decide to hold the
20 Settlement Hearing telephonically or by other virtual means without further notice. The Court
21 further reserves the right to enter its Final Judgment approving the Settlement and dismissing the
22 Action on the merits and with prejudice, regardless of whether it has approved the Plan of
23 Allocation or awarded attorneys’ fees and expenses.
24          8.      The Court reserves the right to approve the Settlement with such modifications as
25 may be agreed upon or consented to by the Parties and without further notice to the Settlement
26 Class where to do so would not impair Settlement Class Members’ rights in a manner inconsistent
27 with Rule 23, other applicable rules or regulations, or due process of law.
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           Case 3:23-cv-01742-RFL          Document 88        Filed 10/15/24      Page 5 of 14




 1          9.     The Court approves the form, substance, and requirements of (a) the Long Notice,
 2 (b) the Summary Notice, (c) the Proof of Claim, and (d) the Postcard Notice all of which are
 3 exhibits to the Stipulation.
 4          10.    Class Counsel has the authority to enter into the Settlement on behalf of Plaintiffs
 5 and the Settlement Class and has the authority to act on behalf of the Settlement Class with respect
 6 to all acts or consents required by or that may be given pursuant to the Stipulation or such other
 7 acts that are reasonably necessary to consummate the Settlement.
 8          11.    Strategic Claims Services is appointed and approved as the Claims Administrator
 9 to supervise and administer the notice procedure as well as the processing of claims.
10          12.    The Escrow Agent may, at any time after entry of this Order and without further
11 approval from Defendants or the Court, disburse at the direction of Class Counsel up to $200,000
12 from the Settlement Fund prior to the Effective Date to pay Administrative Costs. After the
13 Effective Date, additional amounts, up to $100,000, may be transferred from the Settlement Fund
14 to pay for any necessary additional Administrative Costs without further order of the Court.
15          13.    No later than five Business Days after entry of the Preliminary Approval Order,
16 Caribou shall obtain from its transfer agent, at Caribou’s expense, a list of certificate or record
17 holders who may have purchased shares of Caribou common stock during the Settlement Class
18 Period. Caribou shall provide, or cause its transfer agent to provide, to the Claims Administrator
19 a list of the names, addresses, and email addresses (if available) of the record owners of Caribou
20 common stock during the Settlement Class Period in a usable electronic format, such as an Excel
21 spreadsheet. Any information provided to Lead Counsel by the Company pursuant to this
22 paragraph shall be treated as confidential and will be used by Lead Counsel and the Claims
23 Administrator solely to disseminate notice, apprise Settlement Class Members of the Settlement,
24 and/or implement the Settlement.
25          14.    Within 20 Business Days of the entry of this Order, Class Counsel, through the
26 Claims Administrator, shall either: (a) email links to the location of the Long Notice and Proof of
27 Claim to Settlement Class Members for whom the Claims Administrator is able to obtain email
28 addresses, substantially in the form annexed to the Stipulation as Exhibit A-1 and Exhibit A-3; or

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           Case 3:23-cv-01742-RFL           Document 88       Filed 10/15/24      Page 6 of 14




 1 (b) if no electronic mail address can be obtained, cause the Postcard Notice to be mailed, by first
 2 class mail, postage prepaid, to Settlement Class Members who can be identified with reasonable
 3 effort by Class Counsel, through the Claims Administrator.
 4          15.     Class Counsel, through the Claims Administrator, shall make all reasonable efforts
 5 to give notice to nominees or custodians who held Caribou common stock during the Settlement
 6 Class Period as record owners but not as beneficial owners. Such nominees or custodians shall,
 7 within 10 business days of receipt of the notice, either: (i) request copies of the Postcard Notice
 8 sufficient to send the Postcard Notice to all beneficial owners for whom they are nominee or
 9 custodian, and within 10 business days after receipt thereof send copies to such beneficial owners;
10 (ii) request links to the location of the Long Notice and Proof of Claim and email the links to each
11 beneficial owner for whom they are nominee or custodian within 10 business days after receipt
12 thereof; or (iii) provide the Claims Administrator with lists of the names, last known addresses,
13 and email addresses (to the extent known) of such beneficial owners, in which event the Claims
14 Administrator shall promptly deliver the Postcard Notice to such beneficial owners for whom no
15 valid email address is available. If the Claims Administrator receives an email address, it will
16 send a link to the location of the Long Notice and Proof of Claim electronically. Nominees or
17 custodians who elect to email links to the Long Notice and Proof of Claim or send the Postcard
18 Notice to their beneficial owners shall send a written certification to the Claims Administrator
19 confirming that the mailing or emailing has been made as directed. Copies of the Long Notice
20 shall be made available to any nominee or custodian requesting same for the purpose of
21 distribution to beneficial owners. The Claims Administrator shall, if requested, reimburse
22 nominees or custodians out of the Settlement Fund solely for their reasonable out-of-pocket
23 expenses incurred in providing notice to beneficial owners, which expenses would not have been
24 incurred except for the providing names and addresses, of up to $0.03 per name, address, and
25 email address provided to the Claims Administrator; up to $0.03 per unit for each Postcard Notice
26 actually mailed, plus postage at the pre-sort rate used by the Claims Administrator; or up to $0.03
27 per email notice sent, and subject to further order of this Court with respect to any dispute
28 concerning such reimbursement.

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            Case 3:23-cv-01742-RFL          Document 88        Filed 10/15/24      Page 7 of 14




 1          16.     Class Counsel shall, at least seven days before the Settlement Hearing, serve upon
 2 counsel for Defendants and file with the Court proof of the emailing of the Long Notice and
 3 mailing of the Postcard Notice as required by this Order.
 4          17.     Class Counsel, through the Claims Administrator, shall cause the Stipulation and
 5 its exhibits, this Order, and a copy of the Long Notice and Proof of Claim to be posted on the
 6 Claims Administrator’s website within 16 days of the entry of this Order.
 7          18.     Class Counsel, through the Claims Administrator, shall cause the Summary Notice
 8 to be published electronically once on the GlobeNewswire and in print once in the Investor’s
 9 Business Daily within 10 days after the Postcard Notice mailing or emailing links to the location
10 of the Long Notice and Proof of Claim. Class Counsel shall, at least seven days before the
11 Settlement Hearing, serve upon counsel for Defendants and file with the Court proof of
12 publication of the Summary Notice.
13          19.     The forms and methods set forth herein of notifying the Settlement Class Members
14 of the Settlement and its terms and conditions meet the requirements of due process, Rule 23, and
15 Section 21D(a)(7) of the Securities Exchange Act of 1934, 15 U.S.C. §78u-4(a)(7), as amended
16 by the Private Securities Litigation Reform Act of 1995; constitute the best notice practicable
17 under the circumstances; and constitute due and sufficient notice to all persons and entities
18 entitled thereto. No Settlement Class Member will be relieved from the terms and conditions of
19 the Settlement, including the releases provided for therein, based upon the contention or proof
20 that such Settlement Class Member failed to receive actual or adequate notice.
21          20.     Caribou shall take reasonable steps to complete service promptly on the
22 appropriate federal and state officials of all notices required under the Class Action Fairness Act,
23 28 U.S.C. §1715, and shall thereafter notify Class Counsel as to completion of such service.
24          21.     In order to be entitled to participate in recovery from the Net Settlement Fund after
25 the Effective Date, each Settlement Class Member shall take the following action and be subject
26 to the following conditions:
27                  (a)    A properly completed and executed Proof of Claim must be submitted to
28          the Claims Administrator: (a) electronically through the Claims Administrator’s website,

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     Case 3:23-cv-01742-RFL          Document 88        Filed 10/15/24      Page 8 of 14




 1   www. strategicclaims.net/Caribou , by 11:59 p.m. EST on January 17, 2025; or (b) at the
 2   Post Office Box indicated in the Notice, sent no later than January 17, 2025 (30 days prior
 3   to the Settlement Hearing). Such deadline may be further extended by Order of the Court.
 4   Each Proof of Claim shall be deemed to have been submitted when: the claim (a) receives
 5   a confirmation notice from Strategic Claims Services for electronic submissions; (b) is
 6   legibly postmarked if properly addressed and mailed by first class mail provided such
 7   Proof of Claim is actually received before the filing of a motion for an Order of the Court
 8   approving distribution of the Net Settlement Fund. Any Proof of Claim submitted in any
 9   other manner shall be deemed to have been submitted when it was actually received by
10   the Claims Administrator at the address designated in the Notice.
11          (b)     The Proof of Claim submitted by each Settlement Class Member must: (i)
12   be properly completed, signed, and submitted in a timely manner in accordance with the
13   provisions of the preceding subparagraph; (ii) be accompanied by adequate supporting
14   documentation for the transactions reported therein, in the form of broker confirmation
15   slips, broker account statements, an authorized statement from the broker containing the
16   transactional information found in a broker confirmation slip, or such other documentation
17   as is deemed adequate by the Claims Administrator or Class Counsel; (iii) be complete,
18   contain no material deletions or modifications of any of the printed matter contained
19   therein, and be signed under penalty of perjury; and (iv) be accompanied by a certification
20   by the person executing the Proof of Claim of their current authority to act on behalf of
21   the Settlement Class Member if they are acting in a representative capacity.
22          (c)     Once the Claims Administrator has considered a timely submitted Proof of
23   Claim, it shall determine whether such claim is valid, deficient or rejected. For each claim
24   determined to be either deficient or rejected, the Claims Administrator shall send a
25   deficiency letter or rejection letter as appropriate, describing the basis on which the claim
26   was so determined. Persons who timely submit a Proof of Claim that is deficient or
27   otherwise rejected shall be afforded a reasonable time (at least 10 days) to cure such
28   deficiency, if it shall appear that such deficiency may be cured. If any Claimant whose

                                              8
            Case 3:23-cv-01742-RFL          Document 88       Filed 10/15/24        Page 9 of 14




 1          claim has been rejected in whole or in part wishes to contest such rejection, the Claimant
 2          must, within 10 days after the date of mailing of the notice, serve upon the Claims
 3          Administrator a notice and statement of reasons indicating the Claimant’s ground for
 4          contesting the rejection along with any supporting documentation, and requesting a review
 5          thereof by the Court. If an issue concerning a claim cannot be otherwise resolved, Class
 6          Counsel shall thereafter present the request for review to the Court.
 7                  (d)    As part of the Proof of Claim, each Settlement Class Member shall submit
 8          to the jurisdiction of the Court with respect to the claim submitted, and shall, upon the
 9          Effective Date, release all claims as provided in the Stipulation. No discovery shall be
10          allowed on the merits of the Action or the Settlement in connection with processing of the
11          Proof of Claim, nor shall any discovery from or of Defendants be allowed on any topic.
12          22.     All Settlement Class Members who do not submit valid and timely Proofs of Claim
13 will be forever barred from receiving any payments from the Net Settlement Fund but will in all
14 other respects be subject to and bound by the provisions of the Stipulation and the Final Judgment,
15 if entered.
16          23.     Settlement Class Members shall be bound by all determinations and judgments in
17 the Action whether favorable or unfavorable, unless such Persons request exclusion from the
18 Settlement Class in a timely and proper manner, as hereinafter provided. A Settlement Class
19 Member wishing to make such request for exclusion from the Settlement shall mail it, in written
20 form, by first class mail, postage prepaid, or otherwise deliver it, so that it is received no later
21 than January 28, 2025 (21 days prior to the Settlement Hearing) (“Exclusion Deadline”), to the
22 address listed in the Long Notice. In order to be valid, such request for exclusion must: (A)
23 indicate the name, address, phone number, and e-mail contact information (if any) of the Person
24 seeking exclusion, and state that the sender specifically “requests to be excluded from the
25 Settlement of Bergman v. Caribou Biosciences, Inc., et al., Case No. 3:23-cv-01742-RFL ((N.D.
26 Cal.); and (B) state the date, number of shares, and dollar amount of each Caribou common stock
27 purchase or acquisition and, if applicable, each sale during the Settlement Class Period, as well
28 as the number of shares of Caribou common stock held by the Person as of the opening and closing

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           Case 3:23-cv-01742-RFL          Document 88        Filed 10/15/24      Page 10 of 14




 1 of the Settlement Class Period. To be valid, such request for exclusion must be submitted with
 2 documentary proof (i) of each purchase and, if applicable, sale transaction of Caribou common
 3 stock during the Settlement Class Period, and (ii) information demonstrating your status as a
 4 beneficial owner of the Caribou common stock. If documentary proof is not readily available,
 5 please explain why and provide estimates regarding the dates, amounts and prices at which you
 6 transacted in Caribou common stock.: Any such request for exclusion must be signed and
 7 submitted by the beneficial owner under penalty of perjury. The request for exclusion shall not
 8 be effective unless it provides the required information, is legible, and is made within the time
 9 stated above, or the exclusion is otherwise accepted by the Court. Class Counsel may contact any
10 Person filing a request for exclusion, or their attorney if one is designated, to discuss the request
11 for exclusion.
12          24.     The Claims Administrator shall provide all requests for exclusion and supporting
13 documentation submitted therewith (including untimely requests and revocations of requests) to
14 counsel for the Parties as soon as possible and no later than the Exclusion Deadline or upon the
15 receipt thereof (if later than the Exclusion Deadline). The Settlement Class will not include any
16 Person who delivers a valid and timely request for exclusion that has not been thereafter revoked.
17          25.     Any Person that submits a request for exclusion may thereafter submit to the
18 Claims Administrator a written revocation of that request for exclusion, provided that it is
19 received no later than two Business Days before the Settlement Hearing, in which event that
20 Person will be included in the Settlement Class.
21          26.     All Persons who submit a valid, timely, and unrevoked request for exclusion will
22 be forever barred from receiving any payments from the Net Settlement Fund.
23          27.     The Court will consider comments and/or objections to the Settlement, the Plan of
24 Allocation, or the Fee and Expense Application, provided, however, that no Settlement Class
25 Member or other Person shall be heard or entitled to contest the approval of the terms and
26 conditions of the proposed Settlement, the Plan of Allocation, or the Fee and Expense
27 Application, or any other order relating thereto, unless, at least 21 days prior to the Settlement
28 Hearing Date, that Person has filed said objections, papers, and briefs with the Clerk of the Court,

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           Case 3:23-cv-01742-RFL           Document 88        Filed 10/15/24      Page 11 of 14




 1 U.S. District Court, Northern District of California, 450 Golden Gate Avenue, 16th Floor, San
 2 Francisco, California 94102.
 3          28.     To be valid, any such objection must contain the Settlement Class Member’s: (1)
 4 name, address, and telephone number; (2) a list of all purchases and sales of Caribou common
 5 stock during the Settlement Class Period in order to show membership in the Settlement Class;
 6 (3) all grounds for the objection, including any legal support known to the Settlement Class
 7 Member and/or his, her, or its counsel; (4) the name, address and telephone number of all counsel
 8 who represent the Settlement Class Member, including former or current counsel who may be
 9 entitled to compensation in connection with the objection; and (5) the number of times the
10 Settlement Class Member and/or his, her, or its counsel has filed an objection to a class action
11 settlement in the last five years, the nature of each such objection in each case, the jurisdiction in
12 each case, and the name of the issuer of the security or seller of the product or service at issue in
13 each case. Attendance at the Settlement Hearing is not necessary, but Persons wishing to be heard
14 orally in opposition to the approval of the Stipulation, the Plan of Allocation, and/or the Fee and
15 Expense Application are required to indicate in their written objection (or in a separate writing
16 that is submitted in accordance with the deadline and instructions pertinent to the submission of
17 a written objection) that they intend to appear at the Settlement Hearing and identify any witnesses
18 they may call to testify or exhibits they intend to introduce into evidence at the Settlement
19 Hearing. Settlement Class Members do not need to appear at the Settlement Hearing or take any
20 other action to indicate their approval. The Court will require only substantial compliance with
21 the above requirements for submitting an objection, and may excuse any of them upon a showing
22 of good cause.
23          29.     Any Settlement Class Member who does not substantially comply with objecting
24 in the manner prescribed above shall be deemed to have waived all such objections and shall
25 forever be foreclosed from making any objection to the fairness, adequacy, or reasonableness of
26 the Settlement, the Judgment to be entered approving the Settlement, the Plan of Allocation,
27 and/or the Fee and Expense Application, unless otherwise ordered by the Court; shall be bound
28 by all the terms and provisions of the Stipulation and by all proceedings, orders and judgments in

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           Case 3:23-cv-01742-RFL          Document 88        Filed 10/15/24      Page 12 of 14




 1 the Action; and shall also be foreclosed from appealing from any judgment or order entered in
 2 this Action.
 3          30.     The Court reserves the right to adjourn the Settlement Hearing without any further
 4 notice other than entry of an Order on the Court’s docket and to approve the Settlement without
 5 further notice to the Settlement Class Members.
 6          31.     All papers in support of the Settlement, the Plan of Allocation, and/or the Fee and
 7 Expense Application shall be filed and served no later than 35 days before the Settlement Hearing.
 8          32.     Any submissions filed in response to any objections or in further support of the
 9 Settlement, the Plan of Allocation, and/or the Fee and Expense Application shall be filed no later
10 than 14 days prior to the Settlement Hearing.
11          33.     Defendants, their counsel, and other Released Parties shall have no responsibility
12 for, or liability with respect to, the Plan of Allocation or any application for attorneys’ fees and
13 interest, or expenses or payments to the Class Representative submitted by Class Counsel, and
14 such matters will be considered separately from the fairness, reasonableness, and adequacy of the
15 Settlement.
16          34.     Pending final Court approval of the Settlement, the Releasing Parties shall not seek
17 relief in any forum, and all proceedings in the Action or otherwise shall be stayed and suspended,
18 except that the Parties shall take all such action and file such papers as are necessary and
19 appropriate to effect the consummation and approval of the Settlement. Pending final Court
20 approval, all Releasing Parties shall be barred and enjoined from prosecuting any of the Released
21 Claims against any of the Released Parties.
22          35.     All funds held by the Escrow Agent shall be deemed and considered to be in the
23 custody of the Court, and shall remain subject to the jurisdiction of the Court, until such time as
24 such funds shall be distributed or returned pursuant to the Stipulation and Plan of Allocation
25 and/or further order(s) of the Court.
26          36.     Neither the Stipulation, nor any of its terms or provisions, nor any of the
27 negotiations or proceedings connected with it, shall be construed as an admission or concession
28 by Defendants, their counsel, or any of the other Released Parties of the truth of any of the

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           Case 3:23-cv-01742-RFL           Document 88        Filed 10/15/24      Page 13 of 14




 1 allegations in the Action, or of any liability, fault, or wrongdoing of any kind and shall not be
 2 construed as, or deemed to be evidence of, or an admission or concession that Class
 3 Representatives or any Settlement Class Members directly have suffered any damages, harm, or
 4 loss. Further, neither the Stipulation, nor any of its terms or provisions, nor any of the negotiations
 5 or proceedings connected with it, nor this Order shall be construed as an admission or concession
 6 by Class Representatives of the validity of any factual or legal defense or of the infirmity of any
 7 of the claims or facts alleged in the Action.
 8          37.     In the event the Settlement is not consummated in accordance with the terms of
 9 the Stipulation, then the Stipulation and this Order (including any amendment(s) thereof, and
10 except as expressly provided in the Stipulation or by order of the Court) shall be null and void, of
11 no further force or effect, and without prejudice to any Party, and may not be introduced as
12 evidence or used in any action or proceeding by any Person against the Parties or the Released
13 Parties, and each Party shall be restored to his, her, or its respective litigation positions as they
14 existed prior to April 22, 2024, pursuant to the terms of the Stipulation.
15          38.     Counsel for the Settlement Class shall file Post-Distribution Accounting within
16 twenty-one days after settlement checks have become stale, using the Court’s Post-Distribution
17 Accounting Form (available at https://cand.uscourts.gov/forms/civil-forms/) and file it as ECF
18 event “Post-Distribution Accounting” under Civil Events > Other Filings > Other Documents.
19 Ten percent of Class Counsel’s awarded attorneys’ fees shall remain in the Settlement Fund until
20 after Class Counsel files the necessary Post-Distribution Accounting, as described herein, and the
21 Court authorizes the release to Class Counsel of the attorneys’ fees remaining in the Settlement
22 Fund.
23          39.     Deadlines arising under this Order include but are not limited to the following:
24
25
        Event                                           Deadline for Compliance
26
        Deadline for mailing the Postcard Notice        November 14, 2024 (within 30 days after
27      and/or emailing links to location of Long       entry of Preliminary Approval Order)
        Notice and Claim Form to Settlement
28      Class Members

                                                      13
           Case 3:23-cv-01742-RFL           Document 88        Filed 10/15/24       Page 14 of 14




         Posting the Stipulation, Long Notice, and      October 31, 2024 (within 16 days after
 1
         Claim Form and Preliminary Approval            entry of Preliminary Approval Order)
 2       Order on Claims Administrator’s website
         Publication of Summary Notice                  Within 10 days of mailing of Long Notice
 3                                                      or emailing links of the Long Notice and
 4                                                      Claim Form (latest November 22, 2024)
         Deadline for Lead Plaintiff to file papers in January 14, 2025 (35 days prior to the
 5
         support of final approval and application     Settlement Hearing)
 6       for fees and expenses

 7       Deadline for submitting objections and for     January 28, 2025 (21 days prior to the
         requesting exclusion                           Settlement Hearing)
 8
         Deadline for submitting Claim Forms            January 17, 2025 (at least 30 days prior to
 9                                                      the Settlement Hearing)
10       Deadline to file reply papers in support of    February 4, 2025 (14 days prior to the
         the Settlement, the Plan, and for              Settlement Hearing)
11
         application of attorneys’ fees and expenses
12       Settlement Hearing                             February 18, 2025
13
14
            40.     The Court reserves the right to alter the time or date of the Settlement Hearing
15
     without further notice to the Settlement Class Members, provided that the time or date of the
16
     Settlement Hearing shall not be set at a time or date earlier than the time and date set forth in ¶ 6
17
     above. The Court retains exclusive jurisdiction over the Action to consider all further matters
18
     arising out of, or relating to, the Stipulation, including by way of illustration and not limitation,
19
     any dispute concerning any Proof of Claim submitted and any future requests by one or more of
20
     the Parties that the Judgment, the releases and/or the permanent injunction set forth in the
21
     Stipulation be enforced.
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23
     Dated: October 15, 2024
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25                                                      HON. RITA F. LIN
26                                                      UNITED STATES DISTRICT JUDGE

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